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                                      IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MASSACHUSETTS

              MARK TASSINARI, RICHARD ESPINOSA,
              and JOSEPH ALMEIDA,
              individually and on behalf of all others
              similarly situated,                                    Civil Action No. 1:21-cv-10806-LTS
                                            Plaintiffs,
                              vs.

              THE SALVATION ARMY, A NEW YORK
              CORPORATION,

                                               Defendant.


                SECOND SUPPLEMENTAL DECLARATION OF DR. CLAUDIA P. RODRIGUEZ
                IN SUPPORT OF PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


            I, Claudia P. Rodriguez, MD, declare as follows:

                     1.      I previously provided a Declaration and Report in Support of Plaintiffs’ Motion

            for Preliminary Injunction, dated May 3, 2023 (ECF 143 to 143-5) (“Rodriguez Decl.”)

            describing my background and experience and expert opinions regarding Opioid Use Disorder

            (OUD) and Medication for Opioid Use Disorder (MOUD). I also provided a Supplemental

            Declaration, dated June 7, 2023 (ECF 171) (“Supp. Rodriguez Decl.”) responding to Dr. Darrin

            Mangiacarne’s declaration in opposition to plaintiffs’ motion for a preliminary injunction.

                     2.      In this declaration, I summarize data and literature regarding OUD and MOUD

            that have been published since my prior declarations.

                                               The Opioid Crisis (Updated Data)

                     3.      In my May 3, 2023 declaration, I provided statistics about the extent and severity

            of the opioid crisis in the United States. See Rodriguez Decl. ¶¶30-32. Data that have become

            available since then demonstrate that the opioid crisis has gotten worse.

                     4.      Results from the 2022 National Survey on Drug Use and Health (NSDUH)

            published November 13, 2023, showed that about 6.1 million people in the United States who are

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            12 years old or older had an opioid use disorder (1). That is more than double the 2.7 million

            people who had an opioid use disorder in 2020. See Rodriguez Decl. ¶30. According to the

            Centers for Disease Control, 220 people died each day from opioid overdoses in 2021 (2), an

            increase from the 187 deaths per day in 2020 cited in my prior declaration. See Rodriguez Decl.

            ¶30. The number of people who died from an opioid overdose increased more than 15% from

            2020 to 2021 – with heroin-involved death rates decreasing by nearly 32% and fentanyl-involved

            deaths increasing by over 22% in one year (2). Nearly 88% of opioid-related overdose deaths

            involve fentanyl (3). Given the increases in opioid use disorder and opioid deaths in the most

            recent years of available data, these numbers are likely higher now.

                     5.       In Massachusetts, based on the data available as of October 19, 2023, there were

            2,331 confirmed opioid-related overdose deaths in 2022 (4). That is an increase from the 2,281

            confirmed opioid-related deaths in 2021 cited in my prior declaration. See Rodriguez Decl. ¶31.

            In 2022, there were 2,170 opioid-related overdose deaths where a toxicology screen was also

            available. Among these deaths, on average fentanyl was present in 93%, cocaine in 53%,

            benzodiazepines in 27%, alcohol in 28%, prescription opioids in 11%, heroin in 6%, xylazine in

            5%, and amphetamines in 9% (4).

                            The Importance of Access to Medications for Opioid Use Disorder

                     6.      In my May 3, 2023 declaration, I described treatment for opioid use disorder

            (OUD), including medication for opioid use disorder (MOUD), and I summarized the standard of

            care and literature demonstrating the efficacy of MOUD. Recent literature reinforces and

            strengthens the medical and academic consensus that access to all three forms of MOUD

            (buprenorphine, methadone, and naltrexone) is necessary to meet the standard of care for

            individuals with OUD and that “agonist” (buprenorphine and methadone) MOUD outperforms

            other forms of treatment in outcomes including overdose deaths. See Rodriguez Decl. ¶¶33-50.

                     7.      For example, a retrospective cohort study in Connecticut published in January

            2024 reviewed relative risk of death following exposure to MOUD compared to no treatment (5).

            This study found that exposure to buprenorphine or methadone treatment reduced the relative

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            risk of death by 34% and 38%, respectively; whereas for individuals who received non-

            medication treatments (including both short term (≤14 days) or long term (≥ 21 days) treatment)

            the relative risk of death was equal or worse to those who received no treatment at all (5). In

            other words, non-MOUD treatments provided no protection against overdose death. (Data on

            exposure to naltrexone was not available.) This finding suggests that non-MOUD treatment may

            actually be inferior in preventing overdose death to no treatment at all (5).

                     8.      The results of the Connecticut study are consistent with other studies. For

            example, a study published in February of 2020 using data in a national database evaluated the

            effectiveness of MOUD (buprenorphine/methadone or naltrexone) compared to

            nonpharmacologic treatment such as no treatment, inpatient detoxification/residential services,

            intensive behavioral health, or nonintensive behavioral health (i.e. outpatient counseling) and

            found the following results (6):

                          a) Only individuals receiving MOUD treatment with buprenorphine or methadone

                             were less likely to experience an overdose compared with those receiving no

                             treatment: The study found that MOUD treatment with buprenorphine or

                             methadone was associated with 76% reduction in overdose at 3 months and a 59%

                             reduction at 12 months (6).

                          b) Buprenorphine and methadone were also protective in reducing serious opioid-

                             related acute care use during a 3 month follow up period and at 12 months.

                             MOUD treatment with buprenorphine or methadone was associated with a 32%

                             relative rate of reduction at 3 months and 26% at 12 months compared with no

                             treatment (6).

                          c) Inpatient detoxification or residential services treatment, intensive behavioral

                             health, and naltrexone treatment were not significantly associated with overdose

                             or serious opioid related acute care use at 3 or 12 months compared to no

                             treatment – meaning those treatments provided no significant protection against

                             overdose or serious opioid-related acute care use (6).

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                           d) Compared to groups treated with buprenorphine or methadone, all other treatment

                              groups (including treatment with naltrexone or intensive behavioral health

                              services) were more likely to have a posttreatment admission to inpatient

                              detoxification in the 3 month and 12 month follow up period (6).

                           e) Treatment retention matters: Individuals who received methadone or

                              buprenorphine treatment for more than six months had lower overdose and

                              serious acute care opioid-related use than those who received shorter treatment

                              durations or no treatment at all (6).

                     9.       Other studies published since my previous declarations reinforce the effectiveness

            and importance of buprenorphine and methadone MOUD. A study published in August of 2023

            examined the differential impact of MOUD (naltrexone, buprenorphine, and methadone) on drug

            overdose-related hospitalization or emergency room visits in individuals with opioid use disorder

            (OUD) (7). This study found that only 10.38% of individuals with OUD received MOUD.

            Buprenorphine was associated with the lowest risk of drug overdose-related hospitalizations and

            emergency department visits compared to methadone and naltrexone (7). The low percentage of

            individuals with OUD receiving MOUD, which has been shown in other studies, highlights a

            need for access for all MOUD treatment options. The authors concluded: “Increasing the

            availability of MAT to patients with OUD is a key step toward preventing relapse and reducing

            overdose-related ER visits and hospitalizations.” (7)

                     10.      The importance of MOUD treatment and of continuation of treatment without

            interruption were also highlighted by a study published in May of 2023, which found that among

            individuals with OUD, the risk of overdose events during the 24 weeks after starting MOUD was

            highest in those who did not initiate medication treatment or who discontinued medication

            treatment (8). The length of the discontinuation of treatment did not have a significant effect,

            meaning that any interruption in treatment, even for a brief period, could increase the risk of

            overdose (8). This study also highlighted real-life experience with difficulties in extended-release

            naltrexone (XR-NTX) initiation: More than a quarter (27.9%) of individuals assigned to the

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            naltrexone treatment arm did not initiate the medication, compared to only 2.2% of those

            assigned to buprenorphine and 1.7% of those assigned to methadone who did not initiate those

            medications (8). The overdose rate in those who did not initiate naltrexone (XR-NTX) was more

            than two times higher than in those who were able to start the medication (8.9% versus 3.9%)

            (8). The study highlights that any practice that involves requiring individuals to be on only one

            form of MOUD, especially if it requires interruption in treatment and especially if the only form

            of MOUD permitted is naltrexone, can significantly expose that individual to an increase in

            overdose risk.

                     11.     The importance of buprenorphine or methadone MOUD on readmissions and

            morbidity has also continued to be emphasized in medical literature. A study accepted for

            publishing in January of 2024 (available online prior to print) showed that receiving

            buprenorphine or methadone MOUD treatment during hospitalization and at discharge decreased

            odds of 30-day readmission by almost two thirds in individuals who inject drugs and present

            with injection drug use related infections (9).

                     12.     Finally, a study available as of January 2024 reviewed the impact of MOUD on

            several treatment outcomes for individuals at OUD treatment facilities across the United States

            and found that over 18 months, compared to patient-reported estimates at baseline, MOUD

            treatment was associated with an increase in rates of abstinence, and decreases in rates of opioid-

            related overdose, emergency department visits, and arrests, again demonstrating the importance

            of access and treatment with MOUD (10). Notably, relatively few people in this study were

            receiving naltrexone, so most of the results are associated with buprenorphine or methadone

            treatment exposure (10).

                     13.     In sum, the data continue to consistently demonstrate that expanded access to all

            FDA-approved forms of MOUD, and in particular access to buprenorphine and methadone, is

            critical to confronting the opioid crisis. See Rodriguez Decl. ¶¶104-107.




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                     I declare under penalty of perjury under the laws of the United States that the foregoing is
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            true and correct. Executed this ____ day of January 2024, at Sunrise, Florida.




                                                                   Claudia P. Rodriguez, MD



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